                   Case 23-11131-TMH               Doc 19       Filed 08/10/23         Page 1 of 42




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                     Chapter 11

AMYRIS, INC., et al.,                                                      Case No. 23-11131

                                      Debtors.1                            (Joint Administration Requested)


           MOTION OF THE DEBTORS FOR INTERIM AND FINAL ORDERS (I)
     AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION FINANCING AND (B)
    TO UTILIZE CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
     PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
     (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

           Amyris, Inc. (“Amyris”) and its affiliated and related above-captioned debtors and debtors

in possession (collectively, the “Debtors” or the “Company”) hereby file this postpetition financing

motion (the “DIP Motion”). In support of the DIP Motion, the Debtors submit (i) the Declaration

of Han Kieftenbeld in Support of the Debtors’ Chapter 11 Petitions and First Day Relief (the “First

Day Declaration”),2 (ii) the Declaration of Lorie Beers in Support of the Motion of the Debtors for

Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to

Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)

Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief

(the “Beers Declaration”), and (iii) the Declaration of Steve Fleming in Support of the Motion of

the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition

Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition

Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)


1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein shall have the meanings set forth in the Debtors’ First Day Declaration.


178150.2 DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH             Doc 19       Filed 08/10/23   Page 2 of 42




Granting Related Relief (the “Fleming Declaration”) filed concurrently herewith and incorporated

herein by reference. In further support of this DIP Motion, the Debtors respectfully represent as

follows:

                               I. SUMMARY OF RELIEF REQUESTED

                 1.         The Debtors seek entry of interim and Final orders, substantially in the form

of the Interim Order attached hereto as Exhibit 1 and a Final order to be submitted at a later date

(respectively, the “Interim Order” and “Final Order” and collectively, the “DIP Orders”):

             (i)        authorizing the Debtors to obtain senior secured postpetition financing on a
superpriority basis (the “DIP Financing”) in an aggregate principal amount of up to $190 million
(the “DIP Loans”) pursuant to the terms and conditions of that certain Senior Secured
Superpriority Debtor in Possession Financing Agreement attached as Exhibit A to the proposed
Interim Order (as the same may be amended, supplemented, restated or otherwise modified from
time to time, the “DIP Credit Agreement”), by and among Debtors (i) Amyris, Inc., Amyris Clean
Beauty, Inc., and Aprinnova, LLC (the “Borrowers”) and the affiliated Debtors and designated
non-Debtor subsidiaries as guarantors (the “Guarantors”) and (ii) and Euagore, LLC (together with
the other lenders from time to time party thereto, the “DIP Lenders”), and Euagore, LLC, as
Administrative Agent (the “DIP Agent” and, together with the DIP Lenders, the “DIP Secured
Parties”).

            (ii)      authorizing the Debtors to execute the DIP Credit Agreement and the other
documents, agreements and instruments delivered pursuant thereto or executed or filed in
connection therewith, all as may be reasonably requested by the DIP Lenders (as the same may be
amended, restated, supplemented or otherwise modified from time to time, and collectively with
the DIP Credit Agreement, the “DIP Documents”);

          (iii)    authorizing the Debtors to consummate the transactions contemplated by
the DIP Documents;

            (iv)       granting to the DIP Lenders the DIP Liens (as defined below) on all of the
DIP Collateral (as defined below) to secure the DIP Facility and all obligations owing and
outstanding under the DIP Documents, and the Interim Order and any Final Order, as applicable
(collectively, the “DIP Obligations”), subject only to prior payment of the Carve-Out (as defined
below);

            (v)        granting superpriority claims pursuant to section 364(c)(1) of the
Bankruptcy Code to the DIP Lenders as well as liens pursuant to section 364(d) of the Bankruptcy
Code, as further described herein, on all prepetition and postpetition property of the Debtors’ estate
and all proceeds thereof (each as defined below));




                                                       2
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH             Doc 19       Filed 08/10/23    Page 3 of 42




         (vi)      authorizing the Debtors to use Prepetition Collateral and Cash Collateral
(each as defined below) (together with the DIP Facility, the “Postpetition Financing
Arrangement”);

          (vii)             authorizing the Debtors to grant adequate protection to the DIP Lenders (as
defined below);

         (viii)      scheduling a hearing (the “Final Hearing”), pursuant to Rule 4001(c)(2) of
the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to consider entry of the
Final Order; and

             (ix)           granting such other and further relief as this Court deems necessary and just.

                                   II. JURISDICTION AND VENUE

                    2.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant

to 28 U.S.C. § 157(b). Pursuant to Rule 9013–1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

the Debtors consent to the entry of a Final order by the Court in connection with this matter to the

extent that it is later determined that the Court, absent consent of the parties, cannot enter Final

orders or judgments consistent with Article III of the United States Constitution.

                    3.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                    4.      The statutory basis for the relief requested herein are sections 105, 361, 362,

363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 507 and 552 of Title 11 of the United States Code

(the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004 and 9013 of the Federal Rules of

Bankruptcy Procedures (the “Bankruptcy Rules”), and Local Rules 4001-2, 9006-1, and 9013.




                                                       3
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH            Doc 19       Filed 08/10/23     Page 4 of 42




                                          III. BACKGROUND

A.      General Background

                 5.         On the date hereof (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to manage and

operate their businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. As of the date of this DIP Motion, no official committee, trustee or examiner

has been appointed in these chapter 11 cases (the “Chapter 11 Cases”).

                 6.         Amyris was founded in 2003 to create a more stable supply of a key anti-

malarial treatment. Through Amyris’ cutting-edge science, artemisinin—the most effective anti-

malarial drug in the world—is now consistently available to treat the deadly disease. Using the

same technological innovations that produced artemesin, Amyris has become the world’s leading

manufacturer of ingredients made with synthetic biology.                   Amyris provides sustainable

ingredients that are eco-friendly alternatives to raw material sourced for flavors and fragrances,

sweeteners, cosmetics, pharmaceuticals, and other consumer products.

                 7.         In addition, Amyris operates a family of consumer brands that utilize the

Company’s ingredients to meet the growing demand for sustainable, effective, and accessible

products, including Biossance® (clean beauty skincare), JVN™ (haircare), Rose Inc.™ (clean

color cosmetics), Pipette® (clean baby skincare), OLIKA™ (clean wellness), MenoLabs™

(healthy living and menopause wellness), Stripes™ (menopausal wellness), and 4U by Tia™ (a

new clean haircare line).

                 8.         Through these Chapter 11 Cases, the Debtors seek to implement both an

operational and balance sheet restructuring, address liquidity challenges, and preserve and

maximize value for all stakeholders. In doing so, the Debtors expect to centralize their going-



                                                      4
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH           Doc 19       Filed 08/10/23   Page 5 of 42




forward operations on their core business: developing molecules, manufacturing them at scale, and

commercializing them with partners who are leaders in their markets. Accordingly, the Debtors

plan to exit certain of their consumer brands businesses, with a view to have these brands continue

under new ownership while still leveraging Amyris’s cutting-edge science and technology.

Euagore, LLC, an entity affiliated with Foris Ventures, LLC (“Foris”), has agreed to provide $190

million in debtor-in-possession financing to fund the administration of these Chapter 11 Cases

through the end of 2023. During the initial weeks of these Chapter 11 Cases, the Debtors will

focus on negotiating a consensual restructuring with their key stakeholders. However, given the

Company’s substantial cash burn, if the terms of a consensual restructuring cannot be agreed upon

within the next thirty-five days, the proposed DIP financing contemplates that the Debtors will

promptly seek to sell all or substantially all of their assets as a going concern through these Chapter

11 Cases.

                 9.         Additional information regarding the Debtors’ organizational structure,

business operations, historical revenues and liabilities, and a description of the events precipitating

the filing of the Chapter 11 Cases, is set forth in the First Day Declaration.

B.      Prepetition Secured Debt

        (1)      Foris

                 10.        Pursuant to those certain (i) Amended and Restated Loan and Security

Agreement by and among Amyris, Inc. (“Amyris”), as borrower, Amyris Clean Beauty, Inc.

(“Clean Beauty”), Amyris Fuels, LLC (“Amyris Fuels”), and AB Technologies LLC, as guarantors

(“AB Technologies,” and together with Clean Beauty and Amyris Fuels, the “Subsidiary

Guarantors” or “Subsidiary Grantors,” as applicable herein), and Foris Ventures, LLC (“Foris”),

as lender, dated as of October 28, 2019, as amended by that certain Omnibus Amendment



                                                     5
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH            Doc 19       Filed 08/10/23   Page 6 of 42




Agreement, dated as of June 5, 2023, and as further amended, restated, supplemented or otherwise

modified from time to time, (ii) Amended and Restated Loan and Security Agreement by and

among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and Foris, as lender, dated

as of September 27, 2022, as amended by that certain Omnibus Amendment Agreement, dated as

of June 5, 2023, and as further amended, restated, supplemented or otherwise modified from time

to time, (iii) Bridge Loan and Security Agreement by and among Amyris, as borrower, the

Subsidiary Guarantors, as guarantors, and Perrara Ventures, LLC (“Perrara”), as lender, dated as

of March 10, 2023, as amended by that certain Omnibus Amendment Agreement, dated as of June

5, 2023, and as further amended, restated, supplemented or otherwise modified from time to time,

(iv) Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors,

as guarantors, and Anesma Group, LLC (“Anesma”), as lender, dated as of June 5, 2023, (v) Loan

and Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as

guarantor, and Anjo Ventures, LLC (“Anjo”), as lender, dated June 29, 2023, and (vi) Loan and

Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors,

and Muirisc, LLC (“Muirisc”), and lender, dated as of August 2, 2023 (all of the foregoing as

further amended, supplemented, amended and restated, or otherwise modified prior to the Petition

Date, the “Foris Prepetition Secured Loans,” and collectively with any other agreements and

documents executed or delivered in connection with the Foris Prepetition Secured Loans, including

the Security Agreements (as defined herein), the “Foris Prepetition Secured Loan Agreements”),

and Foris, Perrara, Anesma, Anjo, and Muirisc (collectively, the “Foris Prepetition Secured

Lenders”), provided prepetition term loans to the Company.

                 11.        As of the Petition Date, the aggregate principal amount outstanding under

the Foris Prepetition Secured Loan Agreements is at least $295,000,000 (plus accrued and unpaid



                                                      6
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH           Doc 19       Filed 08/10/23   Page 7 of 42




nondefault interest, additional fees, costs, expenses, and other obligations as provided under the

Foris Prepetition Secured Loan Agreements) (collectively, the “Foris Prepetition Obligations”),

which Foris Prepetition Obligations have been guaranteed on a joint and several basis by each of

the Subsidiary Guarantors.

                 12.        In connection with the Foris Secured Prepetition Loan Agreements, Amyris

and the Subsidiary Guarantors, as applicable, entered into those certain (i) Security Agreement, by

and between Amyris, the Subsidiary Grantors, and Foris, dated as of September 27, 2022; (ii)

Security Agreement, by and between Amyris, the Subsidiary Grantors, and Perrara, dated as of

March 10, 2023; (iii) Patent Security Agreement, by and between Amyris, the Subsidiary Grantors,

and Foris, dated as of June 5, 2023; (iv) Trademark Security Agreement, by and between Amyris,

the Subsidiary Grantors, and Foris, dated as of June 5, 2023; (v) Security Agreement, by and

between Amyris, the Subsidiary Grantors, and Anesma, dated as of June 5, 2023; (vi) Patent

Security Agreement, by and between Amyris, the Subsidiary Grantors, and Anesma, dated as of

June 5, 2023; (vii) Trademark Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Anesma, dated as of June 5, 2023; (viii) Patent Security Agreement by and between

Amyris, the Subsidiary Grantors, and Perrara, dated as of June 5, 2023; (ix) Trademark Security

Agreement by and between Amyris, the Subsidiary Grantors, and Perrara, dated as of June 5, 2023;

(x) Security Agreement by and between Amyris, the Subsidiary Grantors, and Anjo dated as of

June 29, 2023; (xi) Patent Security Agreement, by and between Amyris, the Subsidiary Grantors,

and Anjo, dated as of June 29, 2023; (xii) Trademark Security Agreement, by and between Amyris,

the Subsidiary Grantors, and Anjo, dated as of June 29, 2023; (xiii) Security Agreement by and

between Amyris, the Subsidiary Grantors, and Muirisc, dated as of August 2, 2023; (xiv)

Trademark Security Agreement, by and between Amyris, the Subsidiary Grantors, and Muirisc,



                                                     7
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH           Doc 19       Filed 08/10/23   Page 8 of 42




dated as of August 2, 2023; (xv) Patent Security Agreement, by and between Amyris, the

Subsidiary Grantors, and Muirisc, dated as of August 2, 2023; and (xvi) Copyright Security

Agreement, by and between Amyris, the Subsidiary Grantors, and Muirisc, dated as of August 2,

2023 (all of the foregoing as further amended, supplemented, amended and restated, or otherwise

modified from time to time, the “Security Agreements”). Pursuant to the Foris Prepetition Secured

Loan Agreements, the Foris Prepetition Obligations are secured by valid, binding, perfected first

priority security interests in and liens (the “Foris Liens”) on the “Collateral,” as defined in the

Security Agreements (the “Prepetition Collateral”).

                 13.        Any and all of the Debtors’ cash, including the Debtors’ cash and other

amounts on deposit or maintained in any account or accounts by the Debtors, including any

amounts generated by the collection of accounts receivable or other disposition of the Prepetition

Collateral existing as of the Petition Date, and the proceeds of any of the foregoing is the Foris

Prepetition Secured Lenders’ cash collateral within the meaning of section 363(a) of the

Bankruptcy Code (the “Cash Collateral”).

        (2)      DSM Finance B.V.

                 14.        Amyris, Inc., is the borrower under that certain Loan and Security

Agreement dated as of October 11, 2022, as amended and restated by that certain Amendment and

Restatement Agreement dated as of December 12, 2022 (as further amended, restated,

supplemented or otherwise modified from time to time, the “DSM LSA”), by and among Amyris,

Inc., certain subsidiaries thereof as guarantors, and DSM Finance B.V. (“DSM BV”), pursuant to

which the Company obtained, among other financial accommodations, term loans in three tranches

consisting of Tranche 1 with principal obligations of $50,000,000, Tranche 2 with principal

obligations of $25,000,000, and Tranche 3 with principal obligations of $25,000,000. As of the



                                                     8
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH           Doc 19       Filed 08/10/23   Page 9 of 42




Petition Date, the aggregate outstanding principal amount of Tranches 1 and 2 is approximately

$45 million and the aggregate outstanding principal amount of Tranche 3 is approximately $29

million.

                 15.        Pursuant to that certain Security Agreement dated as of October 11, 2022

(as amended, restated, supplemented or otherwise modified from time to time, the “DSM Security

Agreement”), by and among Amyris, Inc., and DSM BV, certain of the Company’s obligations

under the DSM LSA are secured by a lien and security interest in favor of DSM BV in all of

Amyris, Inc.’s rights to any earn-out amounts that may become payable from DSM Nutritional

Products Ltd. to Amyris, Inc., in accordance with Section 3.5 of the Purchase Agreement (as

defined in the DSM Security Agreement) and any and all claims, rights, and interests in any of the

above.

                 16.        Pursuant to that certain Pledge Agreement dated as of December 12, 2022,

by and among Amyris, Inc., and DSM BV, Amyris, Inc., certain of the Company’s obligations

under the DSM LSA are secured by lien and security interest in favor of DSM BV in Amyris,

Inc.’s 69.00% equity interests in Amyris RealSweet, LLC.

                 17.        None of DSM’s collateral or liens (as described above, the “DSM Liens”)

constitute or generate cash collateral within the meaning of section 363(a) of the Bankruptcy Code.

                                   IV. PROPOSED DIP FACILITY

                 18.        As discussed in detail in the First Day Declaration, the Company has

incurred operating losses since its inception, thus requiring a continuing need for equity and debt

capital to sustain operations. Increased operating costs and expenses also burdened the Company.

These factors created a severe liquidity challenge for the Debtors, such that it was necessary for




                                                     9
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH           Doc 19        Filed 08/10/23   Page 10 of 42




the Company to consider a sale of the Company or its assets, a refinancing of its secured debt or

other strategic options, including a chapter 11 bankruptcy filing.

                 19.        The Debtors have filed these Chapter 11 Cases to implement both an

operational and balance sheet restructuring, address liquidity challenges, and preserve and

maximize value. In doing so, the Debtors expect to centralize their going-forward operations on

their core business: developing molecules, manufacturing them at scale, and commercializing them

with partners who are leaders in their markets. Accordingly, the Debtors plan to exit certain of

their consumer brands businesses, with a view to have these brands continue under new ownership

while still leveraging Amyris’s cutting-edge science and technology. During the initial weeks of

these Chapter 11 Cases, the Debtors will focus on negotiating a consensual restructuring with their

key stakeholders.       However, given the Company’s substantial cash burn, if the terms of a

consensual restructuring cannot be agreed upon within the next thirty-five days, the proposed DIP

financing contemplates that the Debtors will promptly seek to sell all or substantially all of their

assets as a going concern through these Chapter 11 Cases.

                 20.        As set forth in the Beers Declaration, Intrepid Investment Bankers LLC

(“Intrepid”) was engaged in July 2023 as investment banker to the Debtors to advise the Debtors

in regard to the Debtors’ capital structure, liquidity needs, and business operations. Following its

engagement, Intrepid, with assistance of the Debtors and their other advisors, considered potential

sources of financing that would provide the liquidity necessary to fund the Debtors’ Chapter 11

Cases. As part of this process, Intrepid solicited proposals for debtor in possession financing by

contacting approximately twenty (20) well-established and experienced third-party financial

institutions and other capital sources. Such parties included lenders that often make loans in

distressed and bankruptcy situations and have the capital necessary to provide adequate financing



                                                    10
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH               Doc 19         Filed 08/10/23      Page 11 of 42




to the Debtors. Of these parties, seven (7) executed non-disclosure agreements and accessed

information available in a data room established by Intrepid for prospective financing purposes.

                  21.       The foregoing efforts did not result in any actionable financing proposals

from any third parties. The Debtors received an offer from an entity affiliated with the Foris

Prepetition Secured Lenders to provide the necessary postpetition financing and authorize the use

of the Foris Prepetition Secured Lenders’ Cash Collateral in order to fund the Debtors’ operations

during these Chapter 11 Cases on a senior secured superpriority basis. As set forth in the Fleming

Declaration, the negotiations with the DIP Secured Parties and the Foris Prepetition Secured

Lenders and their professionals were conducted at arm’s length and in good faith by the Debtors

and their professionals.

                  22.       The proposed DIP Facility and the authorization to use Cash Collateral as

offered by the DIP Secured Parties and the Foris Prepetition Secured Lenders are the best financing

options that the Debtors could obtain. Fully unsecured postpetition financing was not available to

Debtors. Other potential sources of debtor in possession financing for the Debtors, including on a

junior secured basis, were also nonexistent. However, as noted above, the Debtors were able to

obtain (i) financing from the DIP Secured Parties on the terms of the proposed DIP Facility and

(ii) the consent of the Foris Prepetition Secured Lenders’ to use Cash Collateral, all on the terms

set forth herein.

A.       Summary of Essential Terms of DIP Facility

                  23.       In accordance with Bankruptcy Rule 4001(b) and Local Rule 4001-2(a)(i)-

(iii), below is a summary3 of the essential terms of the proposed financing and use of cash collateral

and the location of the same in the proposed Interim Order and/or the DIP Credit Agreement:


3
  The summary and descriptions of the terms and conditions for the proposed financing and use of cash collateral and
the provisions of the proposed Interim Order and the Final Order set forth in this DIP Motion are intended solely for

                                                         11
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH              Doc 19         Filed 08/10/23       Page 12 of 42




a. Debtor/Borrowers:                Amyris, Inc.
                                    Amyris Clean Beauty, Inc.
                                    Aprinnova, LLC

b. Guarantors:                      Debtor Guarantors
                                     AB Technologies LLC
                                     Amyris Fuels, LLC
                                     Amyris-Olika, LLC
                                     Onda Beauty Inc.
                                     Upland 1 LLC

                                    Non-Debtor Guarantors
                                     Amyris Clean Beauty LATAM Ltda.
                                     Interfaces Industria e Comerico de Cosmeticos Ltda.
                                     Amyris Biotechnologia Do Brasil Ltda.
                                     Amyris Europe Trading B.V. (Netherlands)
                                     Amyris Bio Products Portugal Unipessoal, Lda.
                                     Beauty Labs International Limited
                                     Amyris UK Trading Limited
                                     Amyris Eco-Fab LLC
                                     Clean Beauty 4U Holdings, LLC

c. DIP Lenders/DIP Agent: Euagore, LLC (together with the other lenders from time to time
                          party thereto, the “DIP Lenders”), and Euagore, LLC, as
                          Administrative Agent (the “DIP Agent” and, together with the DIP
                          Lenders, the “DIP Secured Parties”)

d. Type:                            A superpriority multiple-draw senior secured term loan facility

e. Maturity/Term. Date:             Unless otherwise agreed to in writing by the DIP Agent in its sole
                                    discretion, all obligations of the Loan Parties under the DIP
                                    Documents, including, without limitation, all principal, accrued
                                    interest, costs, fees and premiums provided for therein (collectively,
                                    the “DIP Obligations”), shall be due and payable in full in cash on
                                    the earlier of:
                                    i.       December 31, 2023 (the “Maturity Date”);
                                    ii.     the effective date (the “Effective Date”) of any chapter 11
                                    plan of reorganization in the Chapter 11 Cases (a “Plan”);

informational purposes to provide the Court and parties in interest with an overview of the significant terms thereof.
The summaries and descriptions are qualified in their entirety by the proposed Interim Order, the Final Order, and the
DIP Documents. In the event there is any conflict between this Motion and the Interim Order, the Final Order, or the
DIP Documents, the Interim Order, the Final Order, and the DIP Documents will control in all respects. Capitalized
Terms used herein that are otherwise undefined shall have the meaning ascribed to them in the DIP Credit
Agreement.

                                                         12
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH     Doc 19        Filed 08/10/23   Page 13 of 42




                            iii.   the date of dismissal of the Chapter 11 Cases or conversion
                            of the Chapter 11 Cases into cases under chapter 7 of the
                            Bankruptcy Code;
                            iv.    the consummation of any sale or other disposition of all or
                            substantially all of the Amyris Assets (collectively, the Consumer
                            Brands Business and Other Amyris Assets, as defined herein)
                            pursuant to section 363 of the Bankruptcy Code; and
                            v.      the date of the DIP Agent’s written notice to the Borrowers
                            of the occurrence of an Event of Default under the DIP Documents.
                            The first to occur of the events set forth in subsections i-v herein
                            shall be the “DIP Termination Date.” [DIP Credit Agreement §1]
                            On the DIP Termination Date, (a) all DIP Obligations shall be
                            immediately due and payable, and all commitments to extend credit
                            under the DIP Facility will terminate; (b) all authority to use Cash
                            Collateral shall cease; provided, however, that during the Remedies
                            Notice Period (as defined below), the Debtors may use Cash
                            Collateral to fund the Carve-Out and Trust Fund Amounts in
                            accordance with the Budget (subject to the Permitted Variances);
                            and (c) the DIP Secured Parties shall be otherwise entitled to
                            exercise rights and remedies under the DIP Documents in
                            accordance with Paragraph 15 of the Interim Order. [Interim Order
                            ¶ 12]

f. Interim Loan Amount:     Upon entry of the Interim Order, no more than two draws prior to
                            entry of the Final Order in the aggregate principal amount of up to
                            $70 million (each an “Initial Borrowing”) [Interim Order Recitals ¶
                            (i)]

g. Final Loan Amount:       Upon entry of the Final Order, multiple additional draws (each a
                            “Subsequent Borrowing” and collectively, the “Subsequent
                            Borrowings”) in the aggregate principal amount not to exceed $120
                            million; provided that (x) each Subsequent Borrowing shall not be
                            in an amount greater than the amounts specified in the Budget (each
                            as defined herein) to be drawn through the date of such Subsequent
                            Borrowing and (y) each Subsequent Borrowing shall be at least
                            twenty-one (21) calendar days apart [Interim Order Recitals ¶ (i)].

h. Use of DIP Loans:        The proceeds of the DIP Loan shall only be used for the following
                            purposes and, in the case of payments pursuant to provisions and
                            limitations on the investigation, interference with, or challenge to
                            the Secured Obligations, the Adequate Protection Obligations, the
                            Foris Prepetition Obligations and/or the liens, claims, rights, or
                            security interests securing or supporting the Secured Obligations
                            and the Adequate Protection Obligations, subject to the amounts and


                                              13
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH       Doc 19        Filed 08/10/23   Page 14 of 42




                             timing specified in the Budget: (i) working capital and other general
                             corporate purposes of the Obligors and certain Subsidiaries of the
                             Parent which are not Debtors, provided that the Borrowers and such
                             Subsidiaries shall execute a Post-Petition Global Note evidencing
                             the payment obligation of such Subsidiaries for all amounts
                             transferred after the Petition Date by the Borrowers, the Debtors or
                             any non-debtor Subsidiary to such Subsidiaries, (ii) any adequate
                             protection payments in accordance with the Budget and the DIP
                             Orders, (iii) professional fees and expenses of administering the
                             Cases, to the extent authorized by any Order of the Bankruptcy
                             Court (including payments benefiting from the Carve-Out and any
                             Investigation, including allowed professional fees subject to the
                             terms and conditions set forth in the DIP Orders, and (iv) any other
                             amounts payable to the Secured Parties hereunder.
                             [Interim Order ¶ 3(c); DIP Credit Agreement §§ 7.15(a) and (b)]

i. Interest Rate:            DIP Loans will bear interest at a fixed rate equal to 12% per annum,
                             compounded monthly, and shall be paid in-kind, in arrears, monthly
                             on the first day of each month. [DIP Credit Agreement § 2.1(c)]

j. Default Rate:             After the occurrence and during the continuance of an Event of
                             Default, all amounts outstanding under the DIP Facility will bear
                             interest at an additional rate per annum of 2.0%. [DIP Credit
                             Agreement § 2.3]

k. Loan/DIP Lender Fees: There are no upfront loan fees. Upon the closing in one or more
                         transactions or series of transactions of a sale of all or substantially
                         all of the Amyris Assets in accordance with the All Assets Bidding
                         Procedures Order, the Borrowers shall pay to the Administrative
                         Agent (for the account of the Lenders) a premium in cash (the “Exit
                         Premium”) in an amount equal to 3.0% of the aggregate amount of
                         all then outstanding Advances, together with accrued and unpaid
                         interest on such amount and all fees and expenses due and payable
                         hereunder, as of the closing date of such sale(s); provided that (i)
                         such Exit Premium shall be approved by the Bankruptcy Court as
                         part of the Final Order and shall be fully earned upon entry of the
                         Final Order, but, for the avoidance of doubt, shall only be payable
                         upon the closing in one or more transactions or series of transactions
                         of a sale of all or substantially all of the Amyris Assets in accordance
                         with the All Assets Bidding Procedures Order and (ii) the payment
                         of such Exit Premium shall be structured in the most tax efficient
                         manner for the Lenders so long as such tax structuring shall not be
                         adverse in any material respect to the Obligors. [DIP Credit
                         Agreement § 2.8]



                                                14
DOCS_NY:48137.7 03703/001
                Case 23-11131-TMH                Doc 19         Filed 08/10/23        Page 15 of 42




                                     The fees of the DIP Secured Parties referred to in the DIP
                                     Documents, including all fees and other amounts owed to the DIP
                                     Agent and the DIP Lenders, will be paid as of the Termination Date.
                                     [Interim Order ¶ 3(d)(3)]

l. Prepayments:                      (a)    Optional Prepayment. No Borrower may prepay all or any
                                     part of the Advances unless in accordance with the express
                                     provisions of the DIP Credit Agreement.

                                     (b)     Mandatory Prepayments. Subject in all respects to the DIP
                                     Orders, if applicable, if and on each occasion that any Net Proceeds
                                     are received by or on behalf of the Parent or any of its Subsidiaries
                                     in respect of the disposition of Collateral (other than any disposition
                                     in the ordinary course of business), the Borrowers shall,
                                     immediately after such Net Proceeds are received by them or any
                                     Subsidiary thereof prepay the Advances, together with accrued and
                                     unpaid interest on the principal amount thereof and all fees and
                                     expenses payable hereunder, pro rata in an aggregate amount equal
                                     to 100% of such Net Proceeds. For the avoidance of doubt, any
                                     Advance prepaid under Section 2.5 of the DIP Credit Agreement
                                     may not be re-borrowed. [DIP Credit Agreement § 2.5]

m. DIP Liens/Collateral:             As security for the DIP Obligations, effective and perfected upon
                                     the date of the Interim Order, the following security interests and
                                     liens are granted by the Debtors to the DIP Agent, for the benefit of
                                     the DIP Secured Parties (all property identified below being
                                     collectively referred to as the “DIP Collateral”), subject to (x) the
                                     Permitted Liens (as defined in the DIP Credit Agreement) and (y)
                                     the Carve-Out (all such liens and security interests granted to the
                                     DIP Agent, for the benefit of the DIP Lenders, pursuant to the
                                     Interim Order and the DIP Documents, the “DIP Liens”):

                                     i.      First Priority Lien on Unencumbered Property. Pursuant to
                                     section 364(c)(2) of the Bankruptcy Code, a valid, binding,
                                     continuing, enforceable, non-avoidable, automatically and properly
                                     perfected, first priority security interest in and lien upon all tangible
                                     and intangible prepetition and postpetition property of the Debtors,
                                     whether existing on the Petition Date or thereafter acquired, and
                                     the proceeds, products, rents, and profits thereof, that, on or as of
                                     the Petition Date, is not subject to (i) a valid, perfected and non-
                                     avoidable lien or (ii) a valid and non-avoidable lien in existence as
                                     of the Petition Date that is perfected subsequent to the Petition Date
                                     as permitted by section 546(b) of the Bankruptcy Code (the
                                     “Prepetition Unencumbered Collateral”).4 Subject to entry of the

4
 As of the Petition Date, the Prepetition Unencumbered Assets primarily consist of owned real estate in Leland, North
Carolina, leased real estate in various locations, and equity interests in certain joint ventures and foreign subsidiaries.

                                                           15
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH     Doc 19        Filed 08/10/23   Page 16 of 42




                            Final Order, the Prepetition Unencumbered Collateral shall include
                            the Avoidance Actions Proceeds. [Interim Order ¶ 8(a)]

                            ii.     Liens Priming the Foris Liens. Pursuant to section 364(d)(1)
                            of the Bankruptcy Code, a valid, binding, continuing, enforceable,
                            non-avoidable, automatically and properly perfected, first priority
                            priming security interest in and lien upon the Prepetition Collateral,
                            (the “Priming Liens”), which Priming Liens shall prime in all
                            respects the interests of the Foris Prepetition Secured Lenders
                            arising from the current and future liens of the Foris Prepetition
                            Secured Lenders (the “Primed Liens”). The Foris Prepetition
                            Secured Lenders have consented to the Primed Liens. [Interim Order
                            ¶ 8(b)]

                            iii.     Liens Junior to Certain Other Liens. Pursuant to section
                            364(c)(3) of the Bankruptcy Code, a valid, binding, continuing,
                            enforceable, non-avoidable, automatically and properly perfected,
                            security interest in and lien upon all tangible and intangible
                            prepetition and postpetition property of the Debtors that is subject
                            to (i) valid, perfected and non-avoidable senior liens in existence
                            immediately prior to the Petition Date (other than the Primed Liens)
                            or (ii) valid and non-avoidable senior liens (other than the Primed
                            Liens) in existence immediately prior to the Petition Date that
                            are perfected subsequent to the Petition Date, as permitted by
                            section 546(b) of the Bankruptcy Code (the “Other Encumbered
                            Prepetition Collateral”), which shall be (x) immediately junior and
                            subordinate to any valid, perfected and non-avoidable liens (other
                            than the Primed Liens) in existence immediately prior to the Petition
                            Date, and (y) any such valid and non-avoidable liens in existence
                            immediately prior to the Petition Date that are perfected subsequent
                            to the Petition Date as permitted by section 546(b) of the
                            Bankruptcy Code. The DIP Liens shall be junior to the DSM Liens.
                            [Interim Order ¶ 8(c)]

                            iv.     Liens Senior to Certain Other Liens. The DIP Liens shall
                            not be (i) subject or subordinate to or made pari passu with (A)
                            any lien or security interest that is avoided and preserved for the
                            benefit of the Debtors or their estates under section 551 of the
                            Bankruptcy Code, (B) unless otherwise provided for in the DIP
                            Documents or in this Interim Order, any liens or security interests
                            arising after the Petition Date, including, without limitation, any
                            liens or security interests granted in favor of any federal, state,
                            municipal or other governmental unit (including any regulatory
                            body), commission, board or court for any liability of the DIP
                            Secured Parties, or (C) any intercompany or affiliate liens of the
                            Debtors or its non-Debtor affiliates or security interests of the
                            Debtors; or (ii) subordinated to or made pari passu with any other

                                              16
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH      Doc 19        Filed 08/10/23    Page 17 of 42




                            lien or security interest under section 363 or 364 of the Bankruptcy
                            Code granted after the date hereof. [Interim Order ¶ 8(d)]

n. Priority:                The DIP Liens shall have the priory set forth in Paragraph 24(m),
                            above. [Interim Order ¶ 8]

o. Superpriority Claims:    DIP Superpriority Claims. Pursuant to, and to the extent provided
                            by section 364(c)(1) of the Bankruptcy Code, but subject to the
                            Carve-Out, all of the DIP Obligations shall constitute allowed
                            superpriority administrative expense claims against each of the
                            Debtors’ estates (the “DIP Superpriority Claims”) (without the need
                            to file any proof of claim) with priority over any and all
                            administrative expenses, Adequate Protection Claims, diminution
                            claims, and all other claims against the Debtors, now existing or
                            hereafter arising, of any kind whatsoever, including, without
                            limitation, all administrative expenses of the kind specified in
                            sections 503(b) and 507(b) of the Bankruptcy Code, and over any
                            and all administrative expenses or other claims arising under
                            sections 105, 326, 327, 328, 330, 331, 361, 362, 363, 364, 365,
                            503(b), 506(c), 507(a), 507(b), 726, 1113, or 1114 of the Bankruptcy
                            Code or otherwise, which allowed claims shall for the purposes of
                            section 1129(a)(9)(A) of the Bankruptcy Code be considered
                            administrative expenses allowed under section 503(b) of the
                            Bankruptcy Code and which shall be payable from and have
                            recourse to all prepetition and postpetition property of the Debtors
                            and all proceeds thereof, including, without limitation, subject to
                            entry of the Final Order, any proceeds or property recovered in
                            connection with the pursuit of claims or causes of action arising
                            under chapter 5 of the Bankruptcy Code (the “Avoidance Actions
                            Proceeds”), subject only to the payment of the Carve-Out. Except
                            as set forth in the Interim Order or the Final Order, no other
                            superpriority claims shall be granted or allowed in these Chapter 11
                            Cases. [Interim Order ¶ 7]

p. Adequate Protection:     Adequate Protection for the Foris Prepetition Secured Lenders. The
                            Foris Prepetition Secured Lenders are entitled, pursuant to sections
                            361, 363(e) and 364(d)(1) of the Bankruptcy Code, to adequate
                            protection of their interests in all Prepetition Collateral (including
                            Cash Collateral) in an amount equal to the aggregate diminution in
                            the value as of the Petition Date of their interests in the Prepetition
                            Collateral (including Cash Collateral), which diminution is as a
                            result of, or arises from, or is attributable to, the sale, lease or use by
                            the Debtors of the Prepetition Collateral, the priming of the Foris
                            Liens by the DIP Liens pursuant to the DIP Documents and the
                            Interim Order, the grant of any other lien under section 364 of
                            the Bankruptcy Code or the stay of the Foris Prepetition Secured

                                               17
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH     Doc 19        Filed 08/10/23   Page 18 of 42




                            Lenders’ rights under the Prepetition Collateral, the payment of
                            any amounts under the Carve-Out or pursuant to the Interim Order,
                            the Final Order or any other order of the Court or provision of the
                            Bankruptcy Code or otherwise, and the imposition of the Automatic
                            Stay (“Adequate Protection” and the resulting claims, “Adequate
                            Protection Claims”). In consideration of the foregoing, and as an
                            inducement to the Foris Prepetition Secured Lenders to consent to
                            the priming of the Foris Liens and use of the Prepetition
                            Collateral (including Cash Collateral), the Foris Prepetition
                            Secured Lenders will be granted the following as Adequate
                            Protection:
                            i.      Prepetition Adequate Protection Liens. The Foris
                            Prepetition Secured Lenders will be granted in the amount of their
                            Adequate Protection Claims, a valid, perfected replacement security
                            interest in and lien upon all of the DIP Collateral (the “Adequate
                            Protection Liens”), including upon entry of the Final Order, all
                            Avoidance Actions Proceeds, subject and subordinate only to (A)
                            the DIP Liens, (B) the Carve-Out, and (C) Permitted Liens or any
                            valid and non-avoidable senior liens (other than the Primed Liens)
                            in existence immediately prior to the Petition Date that are perfected
                            subsequent to the Petition Date. For the avoidance of doubt, the
                            Adequate Protection Liens shall be junior and subordinate to the
                            DSM Liens. [Interim Order ¶ 9(a)]
                            ii.     Adequate Protection Superpriority Claims. The Foris
                            Prepetition Secured Lenders will be granted, subject to the Carve-
                            Out, an allowed superpriority administrative expense claim to the
                            fullest extent provided by sections 503(b) and 507(b) of the
                            Bankruptcy Code in each of the Chapter 11 Cases in an amount
                            equal to the Adequate Protection Obligations that are not secured by
                            the Adequate Protection Liens (the “Adequate Protection
                            Superpriority Claims”). The Adequate Protection Superpriority
                            Claims shall be ahead of and senior to any and all other
                            administrative expense claims of any kind specified or ordered
                            pursuant to any provision of the Bankruptcy Code, but junior to the
                            DIP Superpriority Claims and subject to and subordinate to the
                            Carve-Out and shall have recourse to and be payable from all
                            prepetition or postpetition DIP Collateral, including upon entry of
                            the Final Order, all Avoidance Actions Proceeds. The Foris
                            Prepetition Secured Lenders shall not receive or retain any
                            payments, property or other amounts in respect of the Adequate
                            Protection Superpriority Claims under section 507(b) of the
                            Bankruptcy Code granted hereunder unless and until the DIP
                            Obligations have been indefeasibly paid in full. [Interim Order ¶
                            9(b)]



                                              18
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH      Doc 19        Filed 08/10/23   Page 19 of 42




                            iii.    Adequate Protection Payments. The Debtors are authorized
                            and directed to pay, without the necessity of filing fee applications
                            with, or seeking approval of, the Court or in compliance with the
                            U.S. Trustee fee guidelines, all reasonable and documents fees,
                            costs, and expenses the counsel, financial advisors and other
                            professionals of the Foris Prepetition Secured Lenders in connection
                            with these Chapter 11 Cases whether arising on, prior to or after the
                            Petition Date (all payments referenced herein, collectively, the
                            “Adequate Protection Payments”); provided that all Adequate
                            Protection Payments shall be deferred until the DIP Termination
                            Date. [Interim Order ¶ 9(c)]
q. DIP Budget:              All Advances under the DIP Credit Agreement are subject to an
                            approved budget (the “Budget”, consisting of the Initial Budget and
                            the periodic updated budgets, all as required by the Interim Order
                            and DIP Credit Agreement). The Debtors seek approval of the Initial
                            Budget, covering the first 60 days of these Chapter 11 Cases
                            pursuant to the Interim Order. The Debtors shall thereafter prepare
                            an updated Budget which shall be approved pursuant to the Final
                            Order. By 5:00 p.m. Pacific Time on the date that is two weeks after
                            the date the Final Order approving the updated Budget is entered (or
                            such date as mutually agreed in writing (email being sufficient) by
                            the Debtors and DIP Secured Parties), and every two weeks
                            thereafter on the second business day of such week, the Debtors
                            shall prepare and provide the DIP Secured Parties with an updated
                            Budget. [Interim Order ¶ 4(a]
                            By 5:00 p.m. Pacific Time on August 23, 2023, and then on
                            Wednesday of every week thereafter, the Debtors shall deliver to the
                            DIP Agent a Budget variance report and reconciliation (the
                            “Approved Budget Variance Report”) comparing on a line by line
                            item basis: (x) total receipts for such period to total receipts for such
                            period as set forth in the Budget on a weekly and cumulative basis;
                            (y) total disbursements for such period to total disbursements for
                            such period as set forth in the Budget on a weekly and cumulative
                            basis; together with a statement certifying compliance with the
                            Permitted Variances (as defined herein) for such period (each a
                            “Measuring Period”) and explaining in reasonable detail any
                            Material Variance (as defined below) (each such report, a “Variance
                            Report,” which shall be in a form satisfactory to the DIP Agent).
                            For purposes of each Measuring Period, the Borrowers shall
                            calculate on a line item by line item basis: (x) the numerical
                            difference between total receipts for such period to total receipts for
                            such period as set forth in the Budget for the then applicable week
                            and on a cumulative basis (the “Receipts Variance”), and the
                            percentage such Receipts Variance (as an absolute amount) is of the
                            applicable week and cumulative basis budgeted amount for receipts
                            for such Measuring Period (the “Receipts Variance Percentage”)

                                               19
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH     Doc 19        Filed 08/10/23   Page 20 of 42




                            and (y) the numerical amount by which total disbursements for such
                            Measuring Period are greater than total disbursements, respectively,
                            on a line item by line item basis, for such Measuring Period as set
                            out in the Budget for the then applicable week and on a cumulative
                            basis for such Measuring Period (the “Disbursements Variance”),
                            and the percentage such Disbursements Variance (as an absolute
                            amount) is of the applicable week and cumulative budgeted amount
                            for disbursements for such Measuring Period (the “Disbursements
                            Variance Percentage”). For purposes of the Interim Order, (w)
                            “receipts” shall not include any Initial Borrowing or Subsequent
                            Borrowing under the DIP Facility or any proceeds from the sale of
                            DIP Collateral; (x) the calculation of the Disbursements Variance
                            shall exclude any amounts in the Budget related to professional fees
                            for the Debtors and the Committee, which, at all times, for purposes
                            of any Initial Borrowing or Subsequent Borrowing under the DIP
                            Facility, shall not exceed amounts set forth in the then approved
                            Budget, (y) a “Material Variance” shall mean on a line item by line
                            item basis with respect to each Measuring Period either (i) a
                            Receipts Variance Percentage greater than 15% or (ii) a
                            Disbursements Variance Percentage greater than 10%, and (z)
                            “Permitted Variance” shall mean on a line item by line item basis
                            with respect to each Measuring Period: (i) if the Receipts Variance
                            is a negative number, the Receipts Variance Percentage shall not be
                            greater than 25% measured on a four (4) week cumulative basis and
                            (ii) if the Disbursements Variance is a positive number, the
                            Disbursements Variance Percentage shall not be greater than (A)
                            20% measured on a two (2) week and cumulative basis and (B) 15%
                            measured on a four (4) week and cumulative basis. For purposes
                            hereof, “line item by line item” shall mean each line of the Budget
                            (excluding any amounts in the Budget related to professional fees
                            for the Debtors and the Committee); provided, however, for line
                            items labeled “Other AP Disbursements”, “InterCo disbursements
                            for Goods”, and “InterCo Loan”, “line item by line item” shall be
                            with references to the line items set forth in the supporting schedules
                            provided to the DIP Secured Parties in connection with the Budget.
                            [Interim Order ¶ 4(b)]
                            The Initial Budget is attached to the proposed Interim Order as
                            Exhibit B. Additionally, attached to this DIP Motion are a Plan
                            Scenario Budget through December 31, 2023 (Exhibit 2) and a Sale
                            Scenario Budget through December 31, 2023 (Exhibit 3).

r. Carve-Out:               As set forth in the Interim Order, each of the DIP Liens, DIP
                            Superpriority Claims, Foris Liens, Foris Prepetition Obligations,
                            Adequate Protection Liens, and Adequate Protection Superpriority
                            Claims shall be subject and subordinate to payment of the Carve-
                            Out. [Interim Order ¶ 6(a)]

                                              20
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH     Doc 19        Filed 08/10/23   Page 21 of 42




                            The “Carve-Out” means:
                            i.      all fees required to be paid to the Clerk of the Court and to
                            the U.S. Trustee under section 1930(a) of title 28 of the United
                            States Code plus interest at the statutory rate (without regard to the
                            notice set forth in (iv) below);
                            ii.     all reasonable fees and expenses up to $100,000 incurred by
                            a trustee under section 726(b) of the Bankruptcy Code (without
                            regard to the notice set forth in (iii) below);
                            iii.    all obligations due and owing under any key employee
                            incentive plan and retention plan consistent with the Budget,
                            consented to by the DIP Agent, and approved by the Bankruptcy
                            Court;
                            iv.     to the extent allowed at any time, whether by interim order,
                            procedural order, or otherwise, and whether allowed before or after
                            delivery of a Trigger Notice, all unpaid fees and expenses (the
                            “Allowed Professional Fees”) incurred by persons or firms retained
                            by the Debtors pursuant to section 327, 328, or 363 of the
                            Bankruptcy Code (the “Debtors’ Professionals”) and the Committee
                            pursuant to section 328 or 1103 of the Bankruptcy Code (the
                            “Committees’ Professionals” and, together with the Debtors’
                            Professionals, the “Professional Persons”), but subject to the then
                            Budget for each Professional Person, as approved by the DIP Agent,
                            for the period of time from the Petition Date to the date of a Trigger
                            Notice; and
                            v.      Allowed Professional Fees of the Debtors Professionals and
                            Committee Professionals in an amount not to exceed $750,000
                            incurred after the delivery of a Trigger Notice (this clause (v), the
                            “Carve-Out Cap”), less the amount of any prepetition retainers
                            received by such Professional Persons and not previously returned
                            or applied to Allowed Professionals Fees; provided, however,
                            nothing herein shall be construed to impair any party’s ability to
                            object to court approval of the fees, expenses, reimbursement of
                            expenses or compensation of the Debtors’ Professionals or the
                            Committees’ Professionals.
                            “Trigger Notice” shall mean a written notice delivered by the DIP
                            Agent to the U.S. Trustee and counsel to the Debtors and Committee
                            describing the Event of Default that is alleged to continue under the
                            DIP Documents (or after the payment in full of the DIP Obligations,
                            delivered by the Prepetition Lenders under the Foris Prepetition
                            Secured Loan Agreements describing the reason for termination of
                            the use of Cash Collateral). [Interim Order ¶ 6(b)]
                            Carve-Out Account. On the day on which a Trigger Notice is given
                            by the DIP Agent, and prior to the payment to any of the DIP Agent,


                                              21
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH     Doc 19        Filed 08/10/23   Page 22 of 42




                            DIP Lenders or the Foris Prepetition Secured Lenders on account of
                            the DIP Obligations, the Foris Prepetition Obligations, any
                            Adequate Protection Obligations (as defined herein), claims or liens,
                            or otherwise, the Debtors shall immediately, and be authorized and
                            required to, deposit, as soon as reasonably practicable, in a non-
                            interest bearing trust fund account of the Debtors’ general
                            bankruptcy counsel for the benefit of Professional Persons not
                            subject to the control of the DIP Agent, DIP Lenders or the Foris
                            Prepetition Secured Lenders (the “Carve-Out Account”), an amount
                            equal to the Carve-Out Cap. If any amounts remain in the Carve-Out
                            Account after payment of Professional Persons in accordance with
                            the Carve-Out (subject to the Budget), such amounts shall be
                            returned to the DIP Agent and shall be subject to the DIP Liens and
                            Adequate Protection Liens; provided that to the extent the DIP
                            Loans are indefeasibly paid in full at the time such amounts are to
                            be returned, such amounts shall be returned to the Foris Prepetition
                            Secured Lenders. Prior to the date of delivery of a Trigger Notice,
                            the Debtors shall be authorized to make weekly deposits into the
                            Carve-Out Account in accordance with the Budget. Funds which are
                            on deposit in the Carve-Out Account shall be available only to
                            satisfy obligations benefitting from the Carve-Out, and the DIP
                            Agent, DIP Lenders and the Foris Prepetition Secured Lenders, each
                            on behalf of itself and the relevant secured parties, (i) shall not
                            sweep or foreclose on cash of the Debtors necessary to fund the
                            Carve-Out Account, (ii) shall subordinate their security interests and
                            liens in the Carve-Out Account to the payment of the Allowed
                            Professional Fees in accordance with the Carve-Out and the Carve-
                            Out Cap, and shall only have a security interest upon, and shall only
                            have a right of enforcement against, any residual interest in the
                            Carve-Out Account available following satisfaction in full in cash
                            of all obligations benefitting from the Carve-Out Account; and (iii)
                            waive, and agree not to assert, any right of disgorgement with
                            respect to the payment of the Allowed Professional Fees. [Interim
                            Order ¶ 6(c)]
                            Trust Fund Amounts. Notwithstanding the delivery and
                            effectiveness of a Trigger Notice, the Debtors shall be entitled to use
                            Cash Collateral to pay payroll expenses that have accrued through
                            the date of the Trigger Notice and trust fund taxes that have accrued
                            through the date of the Trigger Notice, each in an amount included
                            in the Budget through the date of the Trigger Notice but which such
                            amounts remain unpaid (the “Trust Fund Amounts”). [Interim
                            Order ¶ 6(d)]

s. Case Milestones:         The DIP Documents shall require compliance with the following
                            milestones (the “Milestones”):



                                              22
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH         Doc 19        Filed 08/10/23   Page 23 of 42




                            a)      the Petition Date shall occur no later than August 9, 2023;
                            b)      the Bankruptcy Court shall enter the Interim Order no later
                            than three (3) Business Days following the Petition Date;
                            c)      the Bankruptcy Court shall enter the Final Order no later
                            than thirty-six (36) calendar days following the Petition Date; and
                            d)      no later than thirty-five (35) calendar days following the
                            Petition Date (the “Plan Support Deadline”), the Debtors shall have
                            executed a plan support agreement (the “Plan Support Agreement”)
                            by and among the Debtors, the Administrative Agent, the Lenders,
                            the Foris Prepetition Secured Lenders, and such other party- or
                            parties-in-interest determined by the Administrative Agent, the
                            Required Lenders, and the Foris Prepetition Secured Lenders, in
                            their sole and absolute discretion, to be necessary and sufficient for
                            the Administrative Agent, the Lenders and the Foris Prepetition
                            Secured Lenders to support a Chapter 11 Plan (collectively, the
                            “Plan Support Persons”), with such Plan Support Agreement being
                            acceptable to the Administrative Agent and the Foris Prepetition
                            Secured Lenders in their sole discretion (the “Plan Support
                            Agreement Milestone”); provided that (x) the Debtors shall not file
                            a motion to sell any Amyris Assets on or prior to the Plan Support
                            Deadline and (y) (A) if the Plan Support Agreement Milestone Date
                            occurs on or prior to the Plan Support Deadline, the Plan Support
                            Agreement shall include, and the Obligors shall achieve, each of the
                            following Milestones:
                                  (i)           no later than fourteen (14) calendar days following
                                         the Plan Support Agreement Milestone Date, the Debtors
                                         shall file with the Bankruptcy Court a Chapter 11 Plan, a
                                         Disclosure Statement (each consistent with the Plan
                                         Support Agreement and in form and substance acceptable
                                         to the Administrative Agent), and a motion to approve the
                                         Plan, the Disclosure Statement and the related solicitation
                                         materials, dates and deadlines (the “Plan Filing Deadline”);
                                 (ii)           no later than thirty-seven (37) calendar days
                                         following the Plan Filing Deadline (the “Disclosure
                                         Statement Hearing Order Deadline”), the Bankruptcy Court
                                         shall enter an order approving the Disclosure Statement,
                                         which order shall provide that the date upon which votes to
                                         accept or reject the Chapter 11 Plan must be submitted shall
                                         be no later than thirty-five (35) calendar days following the
                                         Disclosure Statement Hearing Order Deadline;

                                 (iii)          no later than eighty-two (82) calendar days following
                                         the Plan Filing Deadline, the Bankruptcy Court shall enter
                                         the Acceptable Confirmation Order provided that the


                                                  23
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH         Doc 19        Filed 08/10/23   Page 24 of 42




                                        Acceptable Confirmation Order and Chapter 11 Plan shall
                                        be in form and substance consistent in all respects with the
                                        Plan Support Agreement and in form and substance
                                        acceptable to the Administrative Agent;

                                (iv)          no later than December 29, 2023, the Plan Effective
                                        Date shall occur; and

                                 (v)           if the Plan Support Agreement provides for the sale
                                        of the Consumer Brands Business and/or the Other Amyris
                                        Assets, the Plan Support Agreement shall include
                                        Milestones to commence a sale of the Consumer Brands
                                        Business and/or the Other Amyris consistent in form and
                                        substance with the Milestones described in clause (B)
                                        below and otherwise in form and substance acceptable to
                                        the Administrative Agent and, for the avoidance of doubt,
                                        the distribution of Net Proceeds from such sale shall be
                                        governed by the Plan Support Agreement and the Chapter
                                        11 Plan;

                            and (B) if the Plan Support Agreement Milestone is not satisfied on
                            or prior to the Plan Support Deadline, the Administrative Agent, in
                            its sole discretion, may elect to require the Debtors to initiate a
                            process to market and sell the Amyris Assets (such election, the
                            “Sale Toggle Event”) by delivering written notice of the occurrence
                            of the Sale Toggle Event to the Parent (the “Sale Toggle Event
                            Notice”), which process shall include the following Milestones:

                                 (i)           no later than three (3) calendar days following the
                                       Debtors’ receipt of the Sale Toggle Event Notice, the
                                       Debtors shall file with the Bankruptcy Court a motion (the
                                       “All Assets Bidding Procedures Motion”) seeking approval
                                       of the bidding procedures for the sale in one or more of a
                                       series of transactions all or substantially all of the All Assets
                                       Sale Transaction (the “All Assets Bidding Procedures”);
                                       provided that the All Assets Bidding Procedures Motion, the
                                       All Assets Bidding Procedures, and the order approving the
                                       All Assets Bidding Procedures (the “All Assets Bidding
                                       Procedures Order”), shall be in form and substance
                                       acceptable to the Administrative Agent, and shall include,
                                       without limitation, (x) the date upon which preliminary bids
                                       and qualified bids for the Amyris Assets shall be submitted
                                       and the date of the sale hearing for the Amyris Assets shall
                                       be submitted and the date the sale hearing shall occur, (y) the
                                       terms and conditions of acceptance of a qualified bid, and
                                       (z) the distribution of 100% of the Net Proceeds from the All
                                       Asset Sale Transaction, which shall, for the avoidance of

                                                  24
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH        Doc 19        Filed 08/10/23   Page 25 of 42




                                       doubt, be subject in all respects to the Liens and claims of
                                       the Secured Parties and the Foris Prepetition Secured
                                       Lenders and shall be paid (I) first to the Secured Parties
                                       and/or the Foris Prepetition Secured Lenders in order of
                                       priority and applied to the Loans and the Foris Prepetition
                                       Obligations as determined by the Lenders and the Foris
                                       Prepetition Secured Lenders in their sole discretion, and (II)
                                       second, any remaining balance, if any, shall be retained by
                                       the Debtors; provided that, as set forth in the DIP Orders, the
                                       Administrative Agent and the Foris Prepetition Secured
                                       Lenders shall have the right to credit bid up to the full
                                       amount of the Secured Obligations and Foris Prepetition
                                       Obligations, respectively, in connection with such sale;

                                (ii)         no later than thirty-five (35) calendar days following
                                       the Debtors’ receipt of the Sale Toggle Event Notice, the
                                       Bankruptcy Court shall enter the All Assets Bidding
                                       Procedure Order;

                               (iii)           no later than ninety (90) calendar days following the
                                       Debtors’ receipt of the Sale Toggle Event Notice, the
                                       Bankruptcy Court shall enter an order approving the sale of
                                       the All Assets Sale Transaction; and

                                (iv)          no later than December 29, 2023, the All Asset Sale
                                       Transaction shall close and be effective.

                            [Interim Order ¶ 14; DIP Credit Agreement § 7.25]

t. DIP Documents:           The DIP Documents will be executed and delivered in accordance
                            with the terms of the Interim Order. [Interim Order ¶ 3]

u. Stipulations/Releases:   The DIP Orders include (i) customary Stipulations regarding the
                            validity and priority of the Foris Prepetition Secured Loan
                            Agreements, the Foris Prepetition Obligations, the Foris Liens and
                            Prepetition Collateral, and (ii) customary waivers by the Debtors
                            and releases of the Foris Prepetition Secured Lenders, the DIP
                            Secured Parties, and each of their respective Representatives
                            (collectively, the “Released Parties”) with respect to any and all
                            claims and causes of action arising from or related to the Foris
                            Prepetition Secured Loan Agreements, the Foris Prepetition
                            Obligations, the Foris Liens, the Prepetition Collateral, the DIP
                            Liens, the DIP Secured Parties and the DIP Documents. The Releases
                            are effective as of the date of the Interim Order for the Debtors. As
                            set forth in the Interim Order, the Stipulations and Releases are only
                            binding on other parties in interest, including any Committee, upon


                                                 25
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH     Doc 19        Filed 08/10/23   Page 26 of 42




                            the expiration of the Challenge Period. [Interim Order ¶¶ F (viii);
                            11, 27]

                            The Challenge Period for parties in interest (including any
                            Creditors’ Committee) is seventy-five (75) days from entry of the
                            Interim Order or such later date as the Prepetition Agent may
                            consent in writing. Except for an Investigation Budget of
                            $50,000.00, no proceeds of the DIP Loans and/or DIP Collateral
                            (including Cash Collateral) may be used to challenge the liens or
                            claims of the Foris Prepetition Secured Lenders or the DIP Lenders.
                            [Interim Order ¶¶ 11, 27]

v. Events of Default:       Events of Default. The occurrence of any of the following events,
                            unless waived by the DIP Agent in accordance with the terms of the
                            DIP Documents, shall constitute an event of default (collectively,
                            the “Events of Default”): (a) the failure of the Debtors to perform,
                            in any material respect, any of the terms, provisions, conditions,
                            covenants, or obligations under the Interim Order; (b) the failure of
                            the Debtors to comply with the Milestones; or (c) the occurrence of
                            an “Event of Default” under the DIP Credit Agreement. [Interim
                            Order ¶ 13; DIP Credit Agreement § 8]

w. Credit Bidding:          The DIP Agent shall have the right to credit bid up to the full amount
                            of the DIP Obligations in any sale of the DIP Collateral. The Foris
                            Prepetition Secured Lenders shall have the right to credit bid (either
                            directly or through one or more acquisition vehicles), up to the full
                            amount of the Foris Prepetition Obligations pursuant to section
                            363(k) of the Bankruptcy Code, without the need to further Court
                            order authorizing the same and whether any such sale is effectuated
                            through section 363 or 1129 of the Bankruptcy Code, by a chapter 7
                            trustee under section 725 of the Bankruptcy Code, or otherwise.
                            [Interim Order ¶ 25]

x. Waivers:                 The DIP Orders shall include terms and conditions customary for
                            interim or Final DIP financing orders and shall be acceptable to the
                            DIP Agent and DIP Lender including, without limitation, waiver of
                            the automatic stay, “no marshaling” provisions, and upon entry of
                            the Final Order, waivers of the imposition of costs pursuant to
                            Section 506(c) of the Bankruptcy Code and the “equities of the
                            case” exception in Section 552(b) of the Bankruptcy Code, in each
                            case, to the extent applicable, in favor of the DIP Lenders and Foris
                            Prepetition Secured Lenders. Relief from the automatic stay is
                            subject to a five (5) days’ Remedies Notice Period. [Interim Order
                            ¶¶ 15, 16 17, 23, 34].



                                              26
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH              Doc 19        Filed 08/10/23   Page 27 of 42




y. Conditions to Funding: The DIP Documents shall contain conditions precedent
                          customarily found in loan documents for similar debtor-
                          in-possession financings and as otherwise deemed by the DIP
                          Agent appropriate to the specific transactions. [DIP Credit
                          Agreement § 4]

z. Covenants:                       The DIP Documents shall contain affirmative and negative
                                    covenants customarily found in loan documents for similar debtor-
                                    in-possession financings and as otherwise deemed by the DIP
                                    Agent appropriate to the specific transactions, such as financial
                                    reporting, limitations on incurred indebtedness, limitations on
                                    the incurrence of additional liens. [DIP Credit Agreement § 7]

B.      Additional Required Disclosures

                     24.    Pursuant to Local Rule 4001-2(a)(i), a debtor in possession seeking

authority to use cash collateral or obtain financing must disclose the presence and location of

certain provisions contained in the documentation evidencing the cash collateral usage or

financing. The debtor in possession must also justify the inclusion of certain such provisions. Set

forth below are the disclosures required in accordance Local Rule 4001-2(a)(i)(A)-(X) (most of

which is also disclosed in Paragraph 23(a)-(z) of this DIP Motion as set forth above):

              (i)            Local Rule 4001-2(a)(i)(A) requires a debtor to disclose the amount of cash
                     collateral the debtor seeks permission to use or the amount of credit the debtor seeks
                     to obtain under the proposed loan agreement, including the committed amount of
                     the proposed loan agreement and the amount of new funding that will actually be
                     available for borrowing by the debtor.

                     New credit loan of $190,000,000 [Interim Order Recitals ¶ (i)]

              (ii)           Local Rule 4001-2(a)(i)(B) require the disclosure of pricing and economic
                     terms, including letter of credit fees, commitment fees, and any other fees, provided
                     that when any such terms are sought to be filed under seal, they shall not be
                     disclosed in the Financing Motion itself, but shall be set forth in a separate
                     document filed pursuant to the procedures set forth in Local Rule 9018-1(d), the
                     filing of which shall be disclosed in the Financing Motion.

                     The economic terms of the DIP Facility and the applicable paragraphs of the
                     proposed Interim Order and/or DIP Credit Agreement, as applicable, are
                     disclosed in Paragraph 23(i), (j), and (k), above. There are no terms sought to
                     be filed under seal.


                                                       27
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH              Doc 19        Filed 08/10/23   Page 28 of 42




             (iii)           Local Rule 4001-2(a)(i)(C) requires the disclosure of provisions that
                     specifically limit the Court’s power or discretion to enter future orders in the case.

                     While certain provisions of the DIP Facility limit the issues the Debtors may
                     raise before the Court, no provisions of the DIP Facility or the proposed DIP
                     Orders limit the power or discretion of the Court to enter future orders in the
                     Chapter 11 Cases.

             (iv)            Local Rule 4001-2(a)(i)(D) requires disclosure of provisions that provide
                     for the funding of non-debtor affiliates with cash collateral or proceeds of the loan,
                     as applicable, and the approximate amount of such funding.

                     The Budget, the Cash Management Motion, and the Fleming Declaration
                     disclose the use of proceeds of the DIP Facility by non-debtor affiliates and the
                     reasons for such use. Any such intercompany transfers shall be subject to the
                     Budget, including the “Other AP Disbursements”, “InterCo disbursements for
                     Goods”, and “InterCo Loan” line items therein and supporting schedules to
                     the Budget, as well as the provisions of any interim and final orders approving
                     the Debtors’ cash management motion, including, without limitation,
                     execution of a Post-Petition Global Note.

              (v)            Local Rule 4001-2(a)(i)(E) requires disclosure of material conditions to
                     closing and borrowing, including budget provisions.

                     The material conditions to closing and borrowing and the applicable
                     paragraphs of the proposed Interim Order or DIP Credit Agreement, as
                     applicable, are disclosed in Paragraph 23(h), (q), (s), and (y), above.

             (vi)           Local Rule 4001-2(a)(i)(F) requires disclosure of any carve-outs from liens
                     or superpriority claims, including the material terms of any professional fee carve-
                     out.

                     The provisions of the Carve-Out and the applicable paragraphs of the
                     proposed Interim Order or DIP Credit Agreement, as applicable, are disclosed
                     in Paragraph 23(r), above.

            (vii)            Local Rule 4001-2(a)(i)(G) requires disclosure of provisions that provide
                     for postpetition liens on unencumbered assets, including the identification of such
                     assets.

                     The provisions of the proposed DIP Order providing liens on unencumbered
                     assets, the identity of such assets and the applicable paragraphs of the Interim
                     Order or DIP Credit Agreement, as applicable, are disclosed in Paragraph
                     23(m), above.

           (viii)           Local Rule 4001-2(a)(i)(H) requires disclosure of provisions that establish
                     any sale or plan milestones.

                                                       28
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH             Doc 19        Filed 08/10/23   Page 29 of 42




                    The provisions of the proposed Interim Order establishing sale and plan
                    milestones and the applicable paragraphs of the Interim Order or DIP Credit
                    Agreement, as applicable, are disclosed in Paragraph 23(s), above.

             (ix)           Local Rule 4001-2(a)(i)(I) requires disclosure of provisions that provide for
                    a prepayment penalty or other provisions that affect the debtor’s right or ability to
                    repay the financing in full during the course of the chapter 11 case.

                    No provisions of the DIP Order or DIP Credit Agreement provide for a
                    prepayment penalty. Any limitations on prepayment contained in the
                    proposed DIP Order and DIP Credit Agreement are disclosed in Paragraph
                    23(l), above.

              (x)          Local Rule 4001-2(a)(i)(J) requires disclosure of provisions, in jointly
                    administered cases, that govern joint liability of the debtors, including any
                    provisions that would cause one jointly administered debtor to become liable for
                    the prepetition debt of another jointly administered debtor for which it was not
                    previously subject to.

                    No provisions of the proposed DIP Orders or the DIP Credit Agreement make
                    any debtor liable for any prepetition debt of another debtor for which it was
                    not previously liable.

             (xi)           Local Rule 4001-2(a)(i)(K) requires disclosure of provisions that require the
                    debtor to pay an agent’s or lender’s expenses and attorneys’ fees in connection with
                    the proposed financing or use of cash collateral, without any notice or review by
                    the Office of the United States Trustee, the committee appointed under section 1102
                    of the Bankruptcy Code (if formed) or, upon objection by either of the foregoing
                    parties, the Court.

                    The provisions regarding payment of the fees and expenses of the Foris
                    Prepetition Secured Lenders are disclosed in Paragraph 23(p)(iii), above. The
                    provisions regarding payment of the fees and expenses of the DIP Lenders are
                    disclosed in Paragraph 23(k), above. All such fees and expenses accrue and
                    are only payable upon the DIP Termination Date. Payment of each of these
                    fees is subject to applicable notice to the U.S. Trustee and Creditors’
                    Committee. [Interim Order ¶ 19]

            (xii)           Local Rule 4001-2(a)(i)(L) requires disclosure of provisions that prohibit
                    the use of estate funds to investigate the liens and claims of the prepetition lender.

                    As set forth in Paragraph 23(h)(iii) and (u), above, use of estate funds to
                    investigate the liens and claims of the Foris Prepetition Secured Lenders is
                    limited to $50,000.

           (xiii)           Local Rule 4001-2(a)(i)(M) requires disclosure of any termination or
                    default provisions concerning the use of cash collateral or the availability of credit.


                                                      29
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH              Doc 19        Filed 08/10/23     Page 30 of 42




                    The default and termination provisions of the proposed Interim Order and the
                    applicable paragraphs of the Interim Order or DIP Credit Agreement, as
                    applicable, are disclosed in Paragraph 23(v), above.

            (xiv)           Local Rule 4001-2(a)(i)(N) requires disclosure of any provisions that grant
                    cross-collateralization protection or elevate prepetition debt to administrative
                    expense (or higher) status or that secure prepetition debt with liens on postpetition
                    assets (which liens the creditor would not otherwise have by virtue of the
                    prepetition security agreement or applicable law).

                    Nothing in the proposed DIP Orders cross-collateralizes or elevates
                    prepetition debt to administrative expense (or higher) status or secures
                    prepetition debt with liens on postpetition assets.

            (xv)            Local Rule 4001-2(a)(i)(O) requires disclosure of any provisions that apply
                    the proceeds of postpetition financing to pay, in whole or in part, prepetition debt
                    or which otherwise have the effect of converting (or “rolling up”) prepetition debt
                    to postpetition debt.

                    Nothing in the proposed DIP Orders provides for the application of the
                    proceeds of postpetition financing to pay, in whole or in part, prepetition debt
                    and no roll-up or conversion of prepetition debt to postpetition debt is
                    contemplated in the DIP Orders or the DIP Credit Agreement.

            (xvi)           Local Rule 4001-2(a)(i)(P) requires disclosure of any provisions that
                    immediately prime valid, perfected and non-avoidable liens existing immediately
                    prior to the petition date or that are perfected subsequent to the petition date as
                    permitted by section 546(b) of the Bankruptcy Code, in each case that are senior to
                    the lender’s prepetition liens under applicable law, without the consent of the
                    affected secured creditors, and the proposed notice to be provided to such affected
                    secured creditors.

                    The proposed DIP Orders do not provide for the priming of any pre-existing
                    secured liens without the consent of the applicable lienholder. The Foris
                    Prepetition Secured Lenders have consented to the priming of their liens as set
                    forth in the DIP Orders.

           (xvii)             Local Rule 4001-2(a)(i)(Q) requires disclosure of any provisions or findings
                    of fact that (i) bind the estate or other parties in interest with respect to the validity,
                    perfection or amount of the secured creditor’s prepetition lien or the waiver of
                    claims against the secured creditor without first giving parties in interest, including,
                    but not limited to, any official committee appointed in these cases, at least seventy-
                    five (75) days from the entry of the initial interim order to investigate such matters
                    or (ii) limit the Court’s ability to grant relief in the event of a successful challenge.

                    The proposed DIP Orders provide that any stipulations by the Debtors relating
                    to the validity and amount of the Prepetition Liens and claims of the
                    Prepetition Lender are subject to challenge by parties in interest, including

                                                       30
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH             Doc 19        Filed 08/10/23    Page 31 of 42




                    any official Creditors’ Committee, during a period of seventy-five (75) days
                    from date of entry of the Interim Order, as disclosed in Paragraph 23(u),
                    above. No provisions in the proposed DIP Orders limit the ability of the Court
                    to grant relief in the event of a successful challenge.

          (xviii)           Local Rule 4001-2(a)(i)(R) requires disclosure of any provisions that
                    immediately approve all terms and conditions of the underlying loan agreement
                    (provided that provisions in the order that provide that the debtor is authorized to
                    enter into and be bound by the terms and conditions of such loan agreement do not
                    need to be summarized).

                    As set forth more specifically in Paragraph 23, above, the DIP Credit
                    Agreement and the authority of the Debtors to enter into same are approved
                    upon entry of the Interim Order, except as to certain provisions (liens on
                    Avoidance Actions and certain waivers), which are only approved upon entry
                    of the Final Order.

            (xix)           Local Rule 4001-2(a)(i)(S) requires disclosure of any provisions that
                    modify or terminate the automatic stay or permit the lender to enforce remedies
                    following an event of default that do not require at least five (5) days’ written notice
                    to the trustee or debtor in possession, the Office of the United States Trustee and
                    each committee appointed under sections 1102 and 1114 of the Bankruptcy Code
                    (the “Remedies Notice Period”), prior to such modification or termination of the
                    automatic stay or the enforcement of the lender’s remedies.

                    As set forth in Paragraph 23(x), above, termination of the automatic stay to
                    enable the DIP Lenders to enforce remedies is subject to the five (5) day
                    Remedies Notice Period.

            (xx)            Local Rule 4001-2(a)(i)(T) requires disclosure of any provisions that seek
                    to limit what parties in interest (other than the debtor) may raise at any emergency
                    hearing scheduled during the Remedies Notice Period.

                    As set forth in Paragraph 23(x), with reference to Paragraph 16 of the Interim
                    Order, no provisions of the DIP Orders limit what parties in interest (other
                    than the Debtors) may raise at any emergency hearing scheduled during the
                    Remedies Notice Period.

            (xxi)         Local Rule 4001-2(a)(i)(U) requires disclosure of any provisions that
                    immediately grant to the prepetition secured creditor liens on the debtor’s claims
                    and causes of action arising under sections 544, 545, 547, and 548 of the
                    Bankruptcy Code or, in each case, the proceeds thereof.

                    Liens on the proceeds of Avoidance Actions are effective only upon entry of
                    the Final Order.




                                                      31
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH            Doc 19        Filed 08/10/23   Page 32 of 42




           (xxii)         Local Rule 4001-2(a)(i)(V) requires disclosure of any provisions that
                    immediately waive the debtor’s rights under section 506(c) of the Bankruptcy
                    Code.

                    As disclosed in Paragraph 23(x), above, these provisions are subject to entry
                    of the Final Order as it relates to the Foris Prepetition Secured Lenders and
                    the Prepetition Collateral and the Interim Order as it relates to the DIP
                    Secured Parties and the DIP Collateral.

          (xxiii)          Local Rule 4001-2(a)(i)(W) requires disclosure of any provisions that
                    immediately seek to affect the Court’s power to consider the equities of the case
                    doctrine under section 552(b)(1) of the Bankruptcy Code.

                    As disclosed in Paragraph 23(x), above, these provisions are subject to entry
                    of the Final Order as it relates to the Foris Prepetition Secured Lenders and
                    the Prepetition Collateral and the Interim Order as it relates to the DIP
                    Secured Parties and the DIP Collateral.

          (xxiv)            Local Rule 4001-2(a)(i)(X) requires disclosure of any provisions that
                    immediately shield the lender from the equitable doctrine of “marshalling” or any
                    similar doctrine.

                    As disclosed in Paragraph 23(x), above, these provisions are subject to entry
                    of the Final Order as it relates to the Foris Prepetition Secured Lenders and
                    the Prepetition Collateral and the Interim Order as it relates to the DIP
                    Secured Parties and the DIP Collateral.

C.      Need for Financing and Use of Cash Collateral

                    25.     The Debtors have an immediate and critical need to obtain the DIP Facility

and to use Cash Collateral (solely to the extent consistent with the Budget (subject to Permitted

Variances as set forth in the Interim Order and the DIP Documents)) to, among other things, (a)

permit the orderly continuation of their businesses; (b) maintain business relationships with

vendors, suppliers, and customers; (c) make payroll; (d) fund expenses of the Chapter 11 Cases;

and (e) satisfy other working capital, operational, and general corporate needs. The Debtors do

not have sufficient sources of working capital and financing to operate their businesses in the

ordinary course throughout the Chapter 11 Cases without access to the DIP Facility and authorized

use of Cash Collateral. In the absence of the DIP Facility and the use of Cash Collateral, the



                                                     32
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH            Doc 19        Filed 08/10/23   Page 33 of 42




Debtors’ business and estates would suffer immediate and irreparable harm. Access to the DIP

Facility will provide the Debtors with sufficient working capital and liquidity to operate during

these Chapter 11 Cases and is vital to the preservation and maintenance of the Debtors’ business

and assets. Without access to the DIP Facility and Cash Collateral, the Company would run out

of money and its ability maintain going concern operations and value will be significantly

impaired.

                 26.        As set out in the Beers Declaration, the Debtors are unable to obtain

financing on more favorable terms from sources other than the DIP Lenders under the DIP

Documents and are unable to obtain adequate unsecured credit allowable under section 503(b)(1)

of the Bankruptcy Code as an administrative expense. The Debtors also are unable to obtain

secured credit allowable under sections 364(c)(1), 364(c)(2), and 364(c)(3) of the Bankruptcy

Code without granting to the DIP Secured Parties, the DIP Liens and the DIP Superpriority Claims

(each as defined herein), in each case subject to the Carve-Out to the extent set forth herein, under

the terms and conditions set forth in the Interim Order and the DIP Documents. Importantly, the

Foris Prepetition Secured Lenders consent to the priming of their liens contemplated by the DIP

Documents and there is no roll-up of prepetition debt to postpetition debt included in the DIP

Facility.

                                        V. BASIS FOR RELIEF

A.      The Debtors Should Be Permitted to Obtain Postpetition Financing Pursuant to
        Section 364(c) of the Bankruptcy Code.

                 27.        Section 364(c) of the Bankruptcy Code requires a finding, made after notice

and a hearing, that the debtor seeking postpetition financing on a secured basis cannot “obtain

unsecured credit allowable under section 503(b)(l) of [the Bankruptcy Code] as an administrative

expense.” 11 U.S.C. § 364(c).


                                                     33
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH             Doc 19        Filed 08/10/23   Page 34 of 42




                 28.        In evaluating proposed postpetition financing under section 364(c) of the

Bankruptcy Code, courts perform a qualitative analysis and generally consider similar factors,

including whether:

                 a.         unencumbered credit or alternative financing without superpriority status is
                            available to the debtor;

                 b.         the credit transactions are necessary to preserve assets of the estate;

                 c.         the terms of the credit agreement are fair, reasonable, and adequate;

                 d.         the proposed financing agreement was negotiated in good faith and at arm’s-
                            length and entry thereto is an exercise of sound and reasonable business
                            judgment and in the best interest of the debtors’ estate and its creditors; and

                 e.         the proposed financing agreement adequately protects the DIP Lender.

See, e.g., In re Aqua Assoc., 123 B.R. 192 (Bankr. E.D. Pa. 1991) (applying the first three factors

in making a determination under section 364(c)).

                 29.        For the reasons discussed below, the Debtors satisfy the standards required

to obtain postpetition financing in the Chapter 11 Cases on a partial priming and senior secured

superpriority basis as to the DIP Collateral under sections 364(c)(1), (2), and (d)(1) of the

Bankruptcy Code.

B.      The Debtors are Unable to Obtain Financing on More Favorable Terms.

                 30.        As discussed above and in the First Day Declaration and Beers Declaration,

the Debtors carefully considered their financing options. Ultimately, the Debtors determined that

the DIP Facility provides the Debtors with the best postpetition financing option available and

should be approved by this Court.

                 31.        The Debtors respectfully submit that their efforts to obtain postpetition

financing therefore satisfy the standard required under section 364(c) of the Bankruptcy Code.

See, e.g., In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988) (where few lenders can



                                                      34
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH            Doc 19        Filed 08/10/23   Page 35 of 42




or will extend the necessary credit to a debtor, “it would be unrealistic and unnecessary to require

[the debtor] to conduct such an exhaustive search for financing”).

C.      The Proposed DIP Financing is Necessary to Maximize the Value of the Debtors’
        Estates.

                 32.        The Debtors seek to use the DIP Facility to for general working capital

purposes, ordinary business expenses such as payroll, and bankruptcy-related costs and expenses,

in accordance with the Budget, to maximize value through a consensual plan and/or an orderly

sale process. The DIP Facility represents the best economic alternative for a new debtor-in-

possession lending arrangement.

                 33.        As set forth in the Fleming Declaration, the Debtors need to continue to

operate in the ordinary course, including buying products from and selling products to their foreign

subsidiaries, and otherwise providing financial accommodations to their foreign subsidiaries so as

to maximize the value of the Debtors’ businesses. All such transactions are contemplated by and

will be conducted in accordance with the Budget and the proposed Cash Management Order.

                 34.        Simply put, without immediate access to the DIP Facility and use of Cash

Collateral, the Debtors cannot continue to operate their businesses. Failure to access and have use

of the DIP Facility would irreparably damage the Debtors’ efforts to effectuate a going concern

asset sale for the benefit of all constituents. Accordingly, the Debtors urge the Court to authorize

the DIP Facility on the terms contemplated herein.

  D.       The Terms of the Proposed DIP Financing are Fair, Reasonable, and Appropriate.

                 35.        In considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Ellingsen


                                                     35
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH            Doc 19        Filed 08/10/23   Page 36 of 42




MacLean Oil Co.), 65 B.R. 358, 365 (W.D. Mich. 1986) (a debtor may have to enter into hard

bargains to acquire funds).

                 36.        The terms of the DIP Facility were negotiated in good faith and at arm’s-

length between the Debtors and the DIP Lender, resulting in an agreement that is designed to

permit the Debtors to maximize the value of their assets. The Debtors submit that the proposed

terms of the DIP Facility are fair, reasonable, and appropriate under the circumstances. See, e.g.,

Bray v. Shenandoah Fed. Sav. and Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir.

1986) (stating that section 364(d) of the Bankruptcy Code imposes no duty to seek credit from every

possible lender); In re Western Pacific Airlines, Inc., 223 B.R. 567 (Bankr. D. Colo. 1997)

(authorizing postpetition financing that would preserve the value of the debtor’s assets). Further,

the DIP Lender consent to the DIP Facility on the terms set forth in the DIP Documents.

E.      The Carve-Out is Appropriate.

                 37.        The DIP Liens and Adequate Protection are subject and subordinate to the

Carve-Out. The Carve-Out contains similar terms to others that this Court has found to be

reasonable and necessary to ensure that a debtor’s estate and any statutory committee can retain

assistance from their advisors. Without the Carve-Out, the Debtors’ estates may be deprived of

possible rights and powers if the services for which professionals may be compensated are

restricted. See In re Ames Dep’t Stores, Inc., 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990) (observing

that courts insist on carve outs for professionals representing parties in interest because “[a]bsent

such protection, the collective rights and expectations of all parties-in-interest are sorely

prejudiced”). Additionally, the Carve-Out protects against administrative insolvency during the

course of these cases by ensuring that assets remain for the payment of the U.S. Trustee fees and

professional fees, notwithstanding the grant of superpriority claims and replacement liens as part



                                                     36
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH            Doc 19        Filed 08/10/23   Page 37 of 42




of the adequate protection of the Foris Prepetition Secured Lenders’ interests in the Prepetition

Collateral. Accordingly, the Carve-Out is appropriate and should be approved.

F.      The DIP Lender Should Be Deemed Good Faith Lenders.

                 38.        Section 364(e) of the Bankruptcy Code protects a good faith lender’s right

to collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) provides that:

                 The reversal or modification on appeal of an authorization under this section
                 [364 of the Bankruptcy Code] to obtain credit or incur debt, or of a grant
                 under this section of a priority or a lien, does not affect the validity of any
                 debt so incurred, or any priority or lien so granted, to an entity that extended
                 such credit in good faith, whether or not such entity knew of the pendency
                 of the appeal, unless such authorization and the incurring of such debt, or
                 the granting of such priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e).

                 39.        Here, the Debtors believe the DIP Facility embodies the most favorable

terms on which the Debtors could obtain postpetition financing. As described in the First Day

Declaration and the Fleming Declaration, negotiations of the terms of the DIP Facility with the

DIP Lender were conducted in good faith and at arms’ length. The terms and conditions of the DIP

Documents are fair and reasonable, and the proceeds of the DIP Facility will be used only for

purposes that are permissible under the Bankruptcy Code, and in accordance with the DIP Orders

and the DIP Documents, including the Budget. Any consideration being provided to any of the

DIP Lender is described herein. Accordingly, the Court should find that the DIP Lender are “good

faith” lenders within the meaning of section 364(e) of the Bankruptcy Code and are entitled to all

of the protections afforded by that section.




                                                     37
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH             Doc 19        Filed 08/10/23   Page 38 of 42




G.      The Proposed DIP Financing Reflects the Debtors’ Sound Business Judgment.

                 40.        A debtor’s decision to enter into a postpetition lending facility under section

364 of the Bankruptcy Code is governed by the business judgment standard. See, e.g., Trans World

Airlines, Inc. v. Travelers Int’l AG (In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr.

D. Del. 1994) (approving postpetition credit facility because such facility “reflect[ed] sound and

prudent business judgment”); In re Ames Dep’t Stores, Inc., 115 B.R. at 38 (financing decisions

under section 364 of the Bankruptcy Code must reflect a debtor’s business judgment).

                 41.        Bankruptcy courts routinely accept a debtor’s business judgment on many

business decisions, including the decision to borrow money. See, e.g., Group of Inst. Investors v.

Chicago, Mil., St. P. & Pac., 318 U.S. 523, 550 (1943) (holding that decisions regarding

assumption or rejection of leases are left to the business judgment of the debtor); In re Simasko

Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985) (“Business judgments should be left to the board

room and not to this Court.”). Further, one court has noted that “[m]ore exacting scrutiny [of

the debtors’ business decisions] would slow the administration of the debtor’s estate and increase

its cost, interfere with the Bankruptcy Code’s provision for private control of administration of the

estate, and threaten the court’s ability to control a case impartially.” Richmond Leasing Co. v.

Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).

                 42.        Bankruptcy courts generally will defer to a debtor in possession’s business

judgment regarding the need for and the proposed use of funds, unless such decision is arbitrary

and capricious. In re Curlew Valley Associates, 14 B.R. 506, 511-13 (Bankr. D. Utah 1981); see

also Trans World Airlines, Inc., 163 B.R. at 974 (approving interim loan, receivables facility and

asset-based facility based upon prudent business judgment of the debtor). Generally courts will

not second-guess a debtor in possession’s business decisions involving “a business judgment made



                                                      38
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH            Doc 19        Filed 08/10/23   Page 39 of 42




in good faith, upon a reasonable basis, and within the scope of his authority under the Code.”

Curlew Valley, 14 B.R. at 513-14 (footnotes omitted).

                 43.        For the reasons set forth above, the Debtors’ sound business judgment

clearly supports approval of the DIP Facility. Access to the DIP Facility will allow the Debtors to

continue to operate, thus maximizing value for all of their constituents.

H.      Section 363 of the Bankruptcy Code Authorizes the Debtors’ Use of Cash Collateral.

                 44.        Section 363(c)(2) of the Bankruptcy Code provides that a debtor in

possession may not use cash collateral unless (A) each entity that has an interest in such cash

collateral provides consent, or (B) the court approves the use of cash collateral after notice and a

hearing. See 11 U.S.C. § 363(c). Section 363(e) of the Bankruptcy Code provides that, “on request

of an entity that has an interest in property used . . . or proposed to be used . . . by the [debtor in

possession], the court . . . shall prohibit or condition such use . . . as is necessary to provide adequate

protection of such interest.” 11 U.S.C. § 363(e).

                 45.        Here, the Debtors seek authority to use the Cash Collateral pursuant to the

Budget and have sought approval of various forms of adequate protection in favor of the Foris

Prepetition Lenders, including adequate protection liens and superpriority claims on the DIP

Collateral to the extent of any diminution and reimbursement of reasonable professional fees

incurred by the Prepetition Agent. Importantly, the DIP Lender and Foris Prepetition Lenders

consent to the use of Cash Collateral on the terms set forth in the Interim Order and Final Order.

                 46.        Bankruptcy Rule 4001(b) permits a court to approve a debtor’s request for

use of cash collateral during the 14-day period following the filing of a motion requesting

authorization to use cash collateral, “only . . . as is necessary to avoid immediate and irreparable

harm to the estate pending a Final hearing.” Bankruptcy Rule 4001(b)(2). In examining requests

for interim relief under this rule, courts apply the same business judgment standard applicable to

                                                     39
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH            Doc 19        Filed 08/10/23   Page 40 of 42




other business decisions. See, e.g., In re Simasko Production Co., 47 B.R. at 449; see also In re

Ames Dep’t Stores Inc., 115 B.R. at 38. After the 14-day period, the request for use of cash

collateral is not limited to those amounts necessary to prevent harm to the debtor’s business.

                 47.        As previously noted, in order to continue operating and satisfy accruing

administrative expenses, the Debtors require access to the DIP Facility and the use of Cash

Collateral. Such use will provide the Debtors with the necessary funds to remain administratively

solvent, while the Debtors pursue a going concern sale of their assets.

                 48.        Absent access to Cash Collateral, the Debtors would face immediate and

irreparable harm. The Debtors would likely be forced to cease operations and convert these

Chapter 11 Cases to ones under chapter 7. Jobs would be lost and substantial value destroyed.

Thus, immediate access to Cash Collateral is essential to the Debtors’ ability to maximize value

for the benefit of all constituents.

I.       Interim Order and Final Hearing

                 49.        Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors

request that the Court schedule a Final hearing within approximately thirty-six (36) calendar days

of the commencement of the Chapter 11 Cases to consider approval of this DIP Motion on a Final

basis.

                 50.        The urgent need to avoid immediate and irreparable harm to the Debtors’

estates makes it imperative that the Debtors be authorized to access the DIP Facility and use Cash

Collateral pending the Final Hearing, in order to allow the Debtors to operate and administer these

Chapter 11 Cases on a postpetition basis. Without the ability to make draws under the DIP Facility

and use Cash Collateral, the Debtors would be unable to satisfy accruing postpetition obligations,

including payroll, and would not be able to conduct a value-maximizing sale process, thus causing



                                                     40
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH             Doc 19        Filed 08/10/23   Page 41 of 42




irreparable harm to the Debtors and the value of these estates.              Accordingly, the Debtors

respectfully request that, pending the Final Hearing, the Interim Order be approved and that the

terms and provisions of the Interim Order be implemented and be deemed binding and that, after

the Final Hearing, the Final Order be approved in all respects and the terms and provisions of the

Final Order be implemented and be deemed binding.

J.      Waiver of Bankruptcy Rule 6004(a) and 6004(h)

                 51.        To implement the foregoing successfully, the Debtors request that the Court

enter an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

and that the Debtors have established cause to exclude such relief from the 14-day stay period

under Bankruptcy Rule 6004(h).

                                               VI. NOTICE

                 52.        The Debtors will provide notice of this Motion to: (a) the Office of the U.S.

Trustee for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the

Debtors (on a consolidated basis); (c) counsel to the DIP Lenders, DIP Agent and the Foris

Prepetition Secured Lenders, Goodwin Procter LLP, 620 Eighth Avenue, New York, NY 10018,

Attn: Michael H. Goldstein, Esq. (mgoldstein@goodwinlaw.com), and Alexander J. Nicas, Esq.

(anicas@goodwinlaw.com); (d) co-counsel to the DIP Lenders, the DIP Agent and the Foris

Prepetition Secured Lenders, Troutman Pepper Hamilton Sanders LLP, Hercules Plaza, Suite

5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899; Attn: David M. Fournier,

Esq. (david.fournier@troutman.com); (e) the United States Attorney’s Office for the District of

Delaware; (f) the state attorneys general for all states in which the Debtors conduct business; and

(g) any party that requests service pursuant to Bankruptcy Rule 2002. As this Motion is seeking

“first day” relief, within two business days of the hearing on the Motion, the Debtors will serve



                                                      41
DOCS_NY:48137.7 03703/001
               Case 23-11131-TMH            Doc 19        Filed 08/10/23   Page 42 of 42




copies of the Motion and any order entered in respect to this Motion as required by Local Rule

9013-1(m).

                                       VII. NO PRIOR REQUEST

                 53.        The Debtors have not made any prior request for the relief sought herein to

this Court or any other court.

                 WHEREFORE, the Debtors respectfully request entry of the Interim Order and,

after Final Hearing, the Final Order, granting the relief requested herein and such other relief as is

just and proper.

 Dated: August 9, 2023                                PACHULSKI STANG ZIEHL & JONES LLP

                                                      /s/ James E. O’Neill
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                                                     42
DOCS_NY:48137.7 03703/001
